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                            UNITED STATES BANKRUPTCY COURT

                               FOR THE DISTRICT OF WYOMING

In re:                              )
                                    )
Mark and Margaret Knickerbocker,    )                          Case No. 17-20172
                                    )
                                    )                          Chapter 7
                                    )
Debtor.                             )
_________________________________ )
PATRICK S. LAYNG,                   )
United States Trustee for Region 19 )                          Adv. Pro. 17-02018
                                    )
Plaintiff,                          )
                                    )
v.                                  )
                                    )
Mark and Margaret Knickerbocker,    )
                                    )
Defendants.                         )



                                                ANSWER


COMES NOW the Debtors/Defendants named above by counsel, Ken McCartney of The Law

Offices of Ken McCartney, P.C. and in response to the Complaint of the US Trustee Answer as

follows:
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                           Jurisdictional Allegations

1. The Debtors/Defendants admit the allegations in paragraph number one of the

   Complaint.

2. The Debtors/Defendants admit the allegations in paragraph number two of the

   Complaint.

3. The Debtors/Defendants admit the allegations in paragraph number three of the

   Complaint.

4. The Debtors/Defendants admit the allegations in paragraph number four of the

   Complaint.

5. The Debtors/Defendants admit the allegations in paragraph number five of the

   Complaint, and joins the Plaintiff consenting to entry of a final judgment and order by

   the United States Bankruptcy Court for the District of Wyoming

                                          Venue

6. The Debtors/Defendants admit the allegations in paragraph number six of the

   Complaint.

                                        Standing

7. The Debtors/Defendants admit the allegations in paragraph number seven of the

   Complaint.

                             General Factual Allrgations

8. The Debtors/Defendants admit the allegations in paragraph number eight of the

   Complaint.



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9. The Debtors/Defendants admit the allegations in paragraph number nine of the

   Complaint.

10. The Debtors/Defendants admit the allegations in paragraph number 10 of the

   Complaint, and AFFIRMATIVELY ALLEGES Debtor/Defendant Mark

   Knickerbocker provided counsel the information with which to prepare schedules and

   he knew absolutely nothing about the Seil Family LTD. Debtor/Defendant Margaret

   Knickerbocker was aware of the limited partnership but is of the opinion that it was

   valueless to her, being mostly a life estate charged with supporting her mother in a

   long term care facility managed by one of her sisters who 1), provides not accountings

   whatsoever to Margaret, and 2) to the best of Margaret’s understanding the managing

   sister is to receive the first $500,000 in distribution from the limited partnership when

   her mother passes away. The Debtors/Defendants will amend and add the partnership

   to schedule B at paragraph number 32 if Margret’s mother passes away before

   September 3, 2017, as the liquidation value would then have meaning.

11. The Debtors/Defendants have no idea where the Plaintiff obtained an “information

   and belief” about the limited partnership’s assets in the year 2000 and therefore deny

   paragraph number 11 of the Complaint. A relevancy objection is probably called for

   here. The Debtors/Defendants AFFIRMATIVELY ALLEGE that the limited

   partnership is declining in value and being consumed by Margaert’s elderly mother

   who resides in a long term care facility.

   Claim 1 – Denial of Discharge – Fraudulent Concealment 11 U.S. C. §727(a)(2)

12. The Debtors/Defendants respond to paragraphs 1 through 12 as before.

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   13. The Debtors/Defendants deny paragraph number 13 of the Complaint, and

      AFFIRMATIVELY ALLEGE a clearly minority interest in a closely held Wyoming

      Limited Liability Company, subject to a life estate, and unfettered consumption

      controlled by a hostile sister, who’s priority upon distribution probably exceeds asset

      value of the limited partnership, has no value to a Chapter 7 Trustee. Under

      Wyoming Law the limited partnership interest cannot be assailed by a third party

      creditor. The Chapter 7 Trustee is entitled exclusively, to the equivalent of a charging

      order under W.S. § 17-29-503. The Trustee’s interest is limited to interrupting

      distributions to the Debtor/Defendant Margaret Knickerbocker. There have been no

      distributions, only small losses that pass through to Margret and Mark

      Knickerbockers’ form 1040 annually since inception.

   14. The Debtors/Defendants deny paragraph number 14 of the Complaint not

      acknowledging value in the interest which the Debtors/Defendant do not deny should

      have been disclosed. The Debtors/Defendants AFFIRMATIVELY ALLEGE that

      there is no allegation of an intent on their part to omit the disclosure of a valuable

      property right as there was absolutely no intent on the part of either Debtor to do so.

15. The Debtors/Defendants deny paragraph number 15 of the Complaint and they

   AFFIRMATIVELY ALLEGE that the US Trustee would not know about the property

   right in question if the Debtors/Defendants had not provided him documentation

   demonstrating its existence. The Debtors/Defendants assume it was from the copies of

   their federal tax returns that the Seil Family LTD interest became apparent. Had there



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         been any intent to conceal whatsoever, whiting out one more line on the tax return would

         have constituted a real concealment.

   16.       The Debtors/Defendants deny paragraph number 16 of the Complaint, the

Debtors/Defendants AFFIRMATIVELY ALLEGE that this accusation is completely

unsupported by the facts and available evidence.

   17.      The Debtors/Defendants deny paragraph number 17 of the Complaint, not being

aware of any transfers involved.

   18.      The Debtors/Defendants deny paragraph number 18 of the Complaint.

          Claim 2 –Denial of Discharge ----False Oath and Acount—11 U.S. C. §727(a)(4)

   19. The Debtors/Defendants respond to paragraphs 1 through 19 as before.

   20. The Debtors/Defendants admit the allegations in paragraph number 20 of the Complaint.

   21.      The Debtors/Defendants deny paragraph number 21 of the Complaint, and

AFFIRMATIVELY ALLEGE that by disclosing the existence of the limited partnership in

their tax returns no omission incurred, certainly not with intent.

   22. The Debtors/Defendants admit the allegations in paragraph number 22 of the Complaint.

   23. The Debtors/Defendants admit the allegations in paragraph number 23 of the Complaint.

   24. The Debtors/Defendants admit the allegations in paragraph number 24 of the Complaint.

   25.      The Debtors/Defendants deny paragraph number 25 of the Complaint, the

Debtors/Defendants AFFIRMATIVELY ALLEGE that if asked they would have told

everything they know about the limited partnership. They were not asked. The same tax returns

the US Trustee is operating from were given the Chapter 7 Trustee two weeks prior to the 341

meeting.

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      26. The Debtors/Defendants deny paragraph number 26 of the Complaint, and the

   Debtors /Defendants AFFIRMATIVELY ALLEGE the error incurred entirely without

   intent on their part.

      27. The Debtors/Defendants deny paragraph number 27 of the Complaint.

      28. The Debtors/Defendants deny each and every other allegation of the Complaint.

      WHEREFORE the Debtors/Defendants prays the Plaintiff take nothing by his Complaint.

Dated: June 29th, 2017.

                             Respectfully submitted
                             For the Debtor/Defendant
                             By:



                             /s/ Ken McCartney
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                               CERTIFICATE OF SERVICE

       The undersigned caused a true and correct copy of the forgoing ANSWER to be served
electronically on the following this 29th day of June, 2017.

Danial Morse
Deputy US Trustee

Tracy Zubrod
Chapter 7 Trustee


                                           /s/ Ken McCartney




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